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                                                      November 6, 2020

Via ECF                               Application Granted. The Clerk of the Court is directed to
                                      terminate the letter motion at docket number 24.
The Honorable Lorna G. Schofield
United States District Court          Dated: November 6, 2020
Southern District of New York         New York, New York
40 Foley Square
New York, NY 10007

       Re:   United States v. Frederick Scheinin, 20 CR 133 (LGS)

Dear Judge Schofield:

       With the consent of the Government and Pretrial Services, I write to
request a modification of Mr. Scheinin’s bail conditions to permit him to leave
the home for social visits, subject to approval by Pretrial Services. All other
bail conditions would remain the same.

       While out on bail Mr. Scheinin has been compliant with all mandates
set forth by the Court and Pretrial Services. Mr. Scheinin reports regularly to
Pretrial Services, and is in regular communication with my office.

Thank you for your consideration of this application.

                                              Respectfully submitted,


                                              _____________________________
                                              Tamara L. Giwa
                                              Assistant Federal Defender
                                              Federal Defenders of New York
                                              (212) 417-8719


Cc:    AUSA Nicholas Chiuchiolo (via ECF)
       Pretrial Services Officer John Moscato (via email)
